916 F.2d 710Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Lenard SMALL, Plaintiff-Appellant,v.Nathan A. RICE, Charles Creecy, Robert W. Smith, CharlesHill, Daniel Durham, Deborah Holtrop, Dr. Sutton,Raymond Adams, Dr. Byrum, Defendants-Appellees.
    No. 90-7354.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 1, 1990.Decided Oct. 23, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, Chief District Judge.  (CA-89-687-CRT)
      James Lenard Small, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James Lenard Small appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Small v. Rice, CA-89-687-CRT (E.D.N.C. June 21, 1990).  We deny the motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    